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                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:                                                   CASE NO: 19-05309-JW

SHIRLEY THEREASA SHERROD MD PC                           (CHAPTER 13)



                            Debtor

         NOTICE OF MOTION TO DISMISS CHAPTER 13 CASE AND NOTICE OF HEARING

    James M. Wyman, the Chapter 13 Trustee, has filed papers with the court to dismiss this Chapter 13 case .

     Your rights may be affected. You should read these papers carefully and discuss them with your attorney ,
if you have one in this bankruptcy case . (If you do not have an attorney, you may wish to consult one.)

    If you do not want the court to dismiss this Chapter 13 case , or if you want the court to consider your views on
the motion to dismiss, then on or before fourteen (14) days from the date of service, you or your attorney must:

    File with the court a written response explaining your position at:

                  U.S. Bankruptcy Courthouse
                  J. Bratton Davis
                  1100 Laurel Street
                  Columbia, SC 29201-2423

    If you mail your response to the court for filing , you must mail it early enough so the court will receive it on or
before the date stated above.

    You must also send a copy to:

                  James M. Wyman
                  Office of the Chapter 13 Trustee
                  P.O. Box 997
                  Mt. Pleasant, SC 29465-0997


    A hearing will be held on November 13 , 2019 at 10:00 am at 145 King Street, Room 225, Charleston, SC
29401.
     If you (or your attorney, if you obtain one) do not meet all of the above requirements, the court may decide
that you do not oppose the relief sought in the motion and may enter an order granting that relief after the above
deadline, but before the hearing.

Dated: October 23, 2019

                                                                 /s/Russell Jackson, II
                                                                 PO Box 997
                                                                 Mt. Pleasant, SC 29465-0997
                                                                 Phone: (843) 388-9844
                                                                 Fax: (843) 388-9877
                                                                 Email: 13office@charleston13 .com
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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                         CASE NO: 19-05309-JW

SHIRLEY THEREASA SHERROD MD PC                 (CHAPTER 13)

                                                            MOTION TO DISMISS CASE

                              Debtor


   The Trustee hereby requests the dismissal of the above case for the following reason( s):

    1. The following documents were due October 22, 2019, and were not timely filed:
    Summary of Assets and Liabilities; Schedule A/B; Schedule C; Schedule D; Schedule E/
    F; Schedule G; Schedule H; Schedule I; Schedule J; Statement of Financial Affairs;
    Chapter 13 Statement of Income/Calculation; Copies of Payment Advices; Statement of
    Increase Income/Expenses; Chapter 13 Plan.

    2. The Voluntary Petition was filed under the name "SHIRLEY THEREASA
    SHERROD MD PC." Trustee is informed and believes that the "PC" was added to
    assert that the Debtor in bankruptcy is the Debtor's Professional Corporation. Pursuant
    to 11 U.S.C. §109(e), only an individual is permitted to be a debtor under Chapter 13.

   Trustee asserts that the failure to file all documents timely constitutes cause to dismiss the
   case, and caused delay which is prejudicial to creditors.

   WHEREFORE, Trustee requests an Order dismissing the case.

   If for any reason the case is NOT dismissed pursuant to this motion, Trustee requests an
Order which finds that the only debtor in the case is the individual SHIRLEY THEREASA
SHERROD, and not the Professional Corporation.

                                                      /s/James M. Wyman
                                                      James M. Wyman
                                                      Chapter 13 Trustee
                                                      PO Box 997
                                                      Mt. Pleasant, SC 29465-0997
   Dated: October 23, 2019                            Phone: (843) 388-9844
                                                      Fax: (843) 388-9877
                                                      Email: 13office@charleston13.com
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                                CERTIFICATE OF SERVICE

The undersigned states that he/she served the Trustee's Motion to Dismiss on the on the parties
listed below by mailing to them, on this date, copies of the motion, first class, postage prepaid,
and addressed as follows:

SHIRLEY THEREASA SHERROD MD PC                     PRO SE
PO BOX 809                                         *
CHARLESTON, SC 29455




Date: October 23, 2019                                 /s/Russell Jackson, II
                                                       PO Box 997
                                                       Mt. Pleasant, SC 29465-0997
                                                       Phone: (843) 388-9844
                                                       Fax: (843) 388-9877
                                                       Email: 13office@charleston13.com
